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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JASMON STALLINGS,                                    )
                                                     )
       Plaintiff,                                    )
v.                                                   )      No.:    14 CV 2202
                                                     )
LT. BURKYBILE, et al.,                               )      Honorable James F. Holderman
                                                     )
       Defendants.                                   )

                    DEFENDANTS' ANSWER AND AFFIRMATIVE DEFENSES
                             TO PLAINTIFF'S COMPLAINT

       NOW COME Defendants, RALPH BURKYBILE, MICHAEL EVANS, FRED BEAUGARD,

TROY MAYES, DARREN DAVENPORT, and RUSSELL BAKER, by and through their attorney

LISA MADIGAN, Attorney General of the State of Illinois, and for their Answer and Affirmative

Defenses to Plaintiff’s Complaint state the following:

        1.      On October 3rd 2012 while on my way to chow me and four others was sent back for not
pairing up in time.

ANSWER:        Defendants are without knowledge or information sufficient to form a belief as to
               truth of the allegations in the above paragraph.

        2.     While in the bullpen I asked Lt. Burkybile if we'll be getting fed he said no. I told him
he can't deny us food he told me to cuff up.

ANSWER:        Defendants deny that Plaintiff was told that he would not receive food. Defendants
               admit that Plaintiff was told to cuff up.

       3.     I told him I need to see a Major he said I got you went and got Sgt. Baker, Evans,
Paulido, Davenport, Beaugard, Sgt. Mayes, C.O. Smith was already present.

ANSWER:        Defendants deny the allegations in the above paragraph.

       4.     They wrestled me to the ground. While on the ground they stomped on my back and
neck. Sgt. Baker rammed my head on the floor, lifted me up by my dreadlocks pulling some out.

ANSWER:        Defendants deny the allegations in the above paragraph.

       5.     They rammed my head on the door 3 times while cuffed pushed me down the steps on
the way they put my head to my knees making it impossible to walk.
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ANSWER:        Defendants deny the allegations in the above paragraph.

       6.      C.O. Evans was trying to brake [sic] my shoulder popping it out of place.

ANSWER:        Defendants deny the allegations in the above paragraph.

        7.     I went to H.C.U. They drew blood. Dr. Obaisi refused treatment saying I shouldn't have
assaulted the police.

ANSWER:        Defendants are without knowledge or information sufficient to form a belief as to
               the truth of whether Plaintiff went to the H.C.U. and whether he had blood drawn.
               Defendants deny the remaining allegations in the above paragraph.

       8.      I.A. came and talked to me twice only to make sure I wasn't going to fight the officers
only took pictures of my injuries.

ANSWER:        Defendants are without knowledge or information sufficient to form a belief as to
               the truth of the allegations in the above paragraph.

       9.      It took me weeks to get an x-ray.

ANSWER:        Defendants are without knowledge or information sufficient to form a belief as to
               the truth of the allegations in the above paragraph.

        10.     Due to minor brain damage sense [sic] I was 11. I suffered minor brained [sic] damage.
I had a lot of minor seizures police was called. No help.

ANSWER:        Defendants are without knowledge or information sufficient to form a belief as to
               the truth of the allegations in the first sentences in the above paragraph.
               Defendants deny the remaining allegations in the above paragraph.

       11.     Dr. was the only one thought I assaulted Officers police didn't even say I did.

ANSWER:        Defendants deny the allegations in the above paragraph.

       12.      Burkybile didn't mention all the officers in the ticked [sic] wrote it so I can beat it
thinking I'd let it go.

ANSWER:        Defendants deny the allegations in the above paragraph.

       13.     In seg I wrote tons of people for help.

ANSWER:        Defendants are without knowledge or information sufficient to form a belief as to
               the truth of the allegations in the above paragraph.

        14.    Due to minor seizures over and over it was hard other than letters to get medical
attention.

ANSWER:        Defendants are without knowledge or information sufficient to form a belief as to
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               the truth of the allegations in the above paragraph.

       15.     I lost my only job in the chowhall due to this and this was my first time ever in seg.

ANSWER:        Defendants are without knowledge or information sufficient to form a belief as to
               the truth of the allegations in the above paragraph.

       16.     Monetary damages, for lost of job restore job, 25,000 from each defendant.

ANSWER:        Defendants deny that Plaintiff is entitled to any relief.

                                       GENERAL DENIAL
              Defendants deny each and every allegation not specifically admitted herein.

                                           Affirmative Defense

                                       First Affirmative Defense

        At all times relevant herein, Defendants acted in good faith and in furtherance of lawful
objectives without violating Plaintiff’s clearly established statutory or constitutional rights of which a
reasonable person would have know. Defendants are therefore protected from suit by the doctrine of
qualified immunity.

                                      Second Affirmative Defense

       Defendants’ personal involvement has not been established with sufficient specificity to state a
claim upon which relief can be granted.

                                       Third Affirmative Defense

       Plaintiff has not exhausted available administrative remedies as required by 42 U.S.C. 1997(e),
and therefore his complaint should be dismissed.

                                            JURY DEMAND

       Defendants demand a trial by jury on all issues herein triable.


                                                      Respectfully submitted,
LISA MADIGAN
Attorney General of Illinois                  By:     s/ Jeanne N. Brown
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